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                                                                                April 20, 2022

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA



 In the Matter of the Creation of the                 )
 Calendar                                             )   ORDER OF THE CHIEF JUDGE
                                                      )                22-077
 of                                                   )
                                                      )
 Judge FRED W. SLAUGHTER                              )
                                                      )

       Pursuant to the recommended procedure adopted by the Court for the creation of the
 calendar of Judge Fred W. Slaughter,

       IT IS HEREBY ORDERED that the following cases are hereby transferred from the
 calendar of Judge George H. Wu to the calendar of Judge Fred W. Slaughter:

      2:19-cv-10502-GW-SK               Robert Curtis Williams III v. Unknown
      2:20-cv-06643-GW-AGRx             United States of America v. City of Los Angeles et
                                        al
      2:20-cv-10132-GW-JEMx             Monica D. Alvarez v. Louis DeJoy, et al.
      2:21-cv-07223-GW-ASx              FlexWare International LLC v. AT and T, Inc. et al
      2:21-cv-07315-GW-MRWx             United States of America v. $443,000.00 in U.S.
                                        Currency
      2:21-cv-07748-GW-JCx              Sam Kim v. Babubhai K Patel, et al
      2:21-cv-09985-GW-JCx              Jennifer Jordan v. Hobby Lobby Stores, Inc., et al.
      2:22-cv-00471-GW-MAAx             Passion Gabourel v. Luxottica of America Inc., et
                                        al.
      2:22-cv-00493-GW-KSx              Teana Louis v. County of Ventura et al
      2:22-cv-00664-GW-MRWx             Sally Motodani v. MoneyGram Payment Systems,
                                        Inc.
      2:22-cv-01669-GW-KSx              Frank Yang v. Longsheng Lei et al
      2:22-cv-01767-GW-MAAx             Brandon Thrasher v. Maserati North America, Inc.
      2:22-cv-01923-GW-JCx              Alberto Gonzalez v. Areyouami LLC
      2:22-cv-02312-GW-KS               Kryst Zowadzki v. Department of Justice
      5:22-cv-00548-GW-PDx              Nino Keeney, et al. v. Lowe's Home Centers, LLC,
                                        et a..
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 In the Matter of the
 Creation of Calendar for
 District Judge Fred W. Slaughter                                                    2


      8:22-cv-00330-GW               In Re: Alicia Marie Richards


      On all documents subsequently filed in the case, please substitute the Judge initials
 FWS after the case number in place of the initials of the prior Judge.



 DATED: April       , 2022
                                                 Chief Judge Philip S. Gutierrez
